        Case 3:12-cv-01024-MPS Document 21 Filed 12/31/13 Page 1 of 2




                         UNITED STATES DISTRICT COURT

                            DISTRICT OF CONNECTICUT


JAVIER MIRABALLES,

      Plaintiff,

              v.

UNITED STATES OF AMERICA,                             CASE No. 3:12-cv-1024(MPS)


      Defendant.
                                                     December ,)', 2013




                   STIPULATION OF DISMISSAL WITH PREJUDICE

      It is hereby stipulated with prejudice that the above-captioned cause of action

be dismissed with prejudice, each party to bear its own costs and attorneys' fees.



               oper                     Alan Ma c S loway
Cooper      iIIano, LLC                 US Attorneys Office-Ct.
1087 Broad Street                       157 Church Street-23rd Floor
Bridgeport, Ct. 06604                   New Haven, Ct. 06510
(203) 366-0660                          (203) 821-3700
FAX: (203) 366-0688                     FAX: (203) 773-5373
jcooper@;coopersevillano.com            alan.soloway@usdoj.gov
Federal Bar# 26250                      Federal Bar # CT 01581




                                            1
          Case 3:12-cv-01024-MPS Document 21 Filed 12/31/13 Page 2 of 2




                               CERTIFICATION OF SERVICE


       I hereby certify that on the 31 st day of December 2013,   I electronically filed the

above referenced pleading with the Clerk of the Court using the CM/ECF system which

will send notification of such filing to all counsel of record.




                                                               /sl
                                                         ALAN MARC SOLOWAY
